
By order of May 1, 2018, the defendant's appellate counsel was directed to file a supplemental brief. On order of the Court, the brief having been received, the application for leave to appeal the November 9, *8262016 order of the Court of Appeals is again considered and, pursuant to MCR 7.305(H)(1), in lieu of granting leave to appeal, we REMAND this case to the Court of Appeals for reconsideration of the defendant's June 17, 2016 application for leave to appeal under the standard applicable to direct appeals. Appellate counsel admits that she did not meet with the defendant until two days after the deadline for filing a delayed application for leave to appeal. Accordingly, the defendant was deprived of his direct appeal as a result of constitutionally ineffective assistance of counsel. See Roe v. Flores-Ortega , 528 U.S. 470, 477, 120 S.Ct. 1029, 145 L.Ed.2d 985 (2000) ; Peguero v. United States , 526 U.S. 23, 28, 119 S.Ct. 961, 143 L.Ed.2d 18 (1999).
We do not retain jurisdiction.
